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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

____________________________________
                                    )
UNITED STATES OF AMERICA            )
                                    )
            v.                      )                Criminal No. 19-10080-NMG
                                    )
   (1) DAVID SIDOO                  )
  (19) ROBERT ZANGRILLO,            )
                                    )
            Defendants.             )
____________________________________)

             GOVERNMENT’S PROPOSED FOSTER HEARING QUESTIONS

       The government hereby submits the following proposed questions in response to the

Court’s Order, Docket No. 406:

Boies Schiller Flexner LLP-Related Questions

      Do you understand that you and Davina Isackson were both charged together in the same
       criminal complaint?

      Do you understand that you and Ms. Isackson are alleged by the government to have been
       involved in a single conspiracy?

      Do you understand that Ms. Isackson, while represented by Boies Schiller Flexner LLP
       (BSF), has pled guilty and acknowledged her participation in the same conspiracy in which
       you have been charged?

      Do you understand, for example, that both you and Ms. Isackson have been charged with
       defrauding the same victim, the University of Southern California (USC)?

      Do you understand, moreover, that both you and Ms. Isackson have been charged in a
       conspiracy with the same goal – to gain admission to USC through the payment of bribes
       and falsified athletic and academic credentials?

      Do you understand further that both you and Ms. Isackson have been charged with using
       Rick Singer’s services to accomplish this fraudulent goal?

      Do you understand that the question of whether this case involves multiple conspiracies or
       a single conspiracy is a question of fact for the jury that cannot be resolved pre-trial? See,
       e.g., United States v. Wihbey, 75 F.3d 761, 774 (1st Cir. 1996) (“the question whether a
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       given body of evidence is indicative of a single conspiracy, multiple conspiracies, or no
       conspiracy at all is ordinarily a matter of fact” for the jury).

      Do you understand that Ms. Isackson, in addition to having pled guilty, is cooperating with
       the government?

      Do you understand that, as part of her cooperation, Ms. Isackson may testify at a trial
       against you to establish the existence of and nature and scope of the conspiracy?

      Do you understand that the government may use Ms. Isackson’s testimony against you at
       trial even if you had no personal knowledge of or acquaintance with her before this case?
       See, e.g., United States v. Negron-Sostre, 790 F.3d 295 (1st Cir. 2015) (“Each
       coconspirator need not know of or have contact with all other members, nor must they
       know all of the details of the conspiracy or participate in every act in furtherance of it.”).

      Do you understand that Ms. Isackson’s testimony would therefore provide direct evidence
       against you, since it would, amongst other things, establish the existence of the conspiracy
       with which you are charged of being a member?

      Do you understand that dual representation—such as BSF’s representation of Ms. Isackson,
       a cooperating witness, and yourself, a charged defendant—is the type of conflict that the
       professional rules of conduct for lawyers generally prohibit?

      Do you understand that because of BSF’s dual representation, your attorneys may be
       limited in their ability to cross-examine Ms. Isackson and that this limitation may be to
       your detriment?

Martin Weinberg-Related Questions

      Do you understand that you and David Sidoo were both charged together in the same
       indictment?

      Do you understand that you and Mr. Sidoo are both represented by Martin Weinberg?

      Do you understand that Mr. Weinberg has acknowledged that there is a conflict in this
       representation since he intends to withdraw from representing you if both cases proceed to
       a joint trial?

      Do you understand that conflicts presented by Mr. Weinberg’s dual representation may
       manifest even before trial, such as if either you or Mr. Sidoo elects to plead guilty or
       cooperate?

      Do you understand that, for the same reasons as set forth above with respect to Ms.
       Isackson, that Mr. Sidoo could testify against you at trial?



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      Do you understand that continued dual representation by Mr. Weinberg at this time—even
       if it were to cease by the time of trial—may result in further conflicts based on the
       information Mr. Weinberg learns from his representation of Mr. Sidoo?

      Do you understand that if Mr. Weinberg withdraws from representing you on the eve of
       trial, as he suggests, such withdrawal may hamper your defense at trial? And that such a
       late withdrawal may not be grounds for delaying the trial?




                                                  Respectfully submitted,

                                                  ANDREW E. LELLING
                                                  United States Attorney


                                           By:     /s/ Eric S. Rosen
                                                  ERIC S. ROSEN
                                                  JUSTIN D. O’CONNELL
                                                  LESLIE A. WRIGHT
                                                  KRISTEN A. KEARNEY
                                                  Assistant United States Attorneys

Date: June 11, 2019




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                                      Certificate of Service

       I hereby certify that on June 11, 2019, I served a copy of the foregoing on counsel of record

in this case via electronic mail.


                                                     /s/ Eric S. Rosen
                                                     ERIC S. ROSEN
                                                     Assistant United States Attorney




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